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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                          )
UNITED STATES OF AMERICA,                 )
                                          )      Criminal No. 1:21-cr-00537-TJK
                   v.                     )
                                          )
RYAN SAMSEL,                              )
                                          )
               Defendant.                 )
                                          )

 OPPOSITION TO SECOND MOTION TO EXTEND DEADLINE FOR EVALUATION


      COMES NOW, Defendant, Ryan Samsel, through undersigned counsel, and

respectfully submits this Opposition to the Government’s Second Motion seeking an

Order to extend the deadline for a previously ordered independent medical

evaluation of defendant Samsel for the reasons state below:


   1. On May 17, 2022 this Court issued an order that state “within fourteen (14)

      days of the date of this Order, or a longer period for good cause shown, Mr.

      Samsel shall receive an Independent Medical Evaluation at a tertiary

      research center.” (ECF 159).

   2. The Government sought and obtained an earlier extension of that deadline

      arguing that standard procedures required a transfer to a Federal Detention

      Center in Philadelphia, Pennsylvania. (ECF 164 at ¶ 2).

   3. In said filing, the government went further detailed that “[a]s part of

      standard procedures resulting from the pandemic, the FDC has placed the

      defendant in quarantine.” (Id.)
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4. The government further documented, “the continued need for

   precautions in response to the covid-19 pandemic benefit the defendant,

   FDC staff and inmates, the Marshals, and staff and other patients at the

   facility where the defendant’s evaluation will occur pursuant to the

   Court’s Order.” (Id. at ¶ 7).

5. The government made clear that the request for the Extension rested on the

   fact that “the need for either the Marshals, the FDC, or both to coordinate

   logistical and security concerns, and to coordinate those concerns with the

   schedule at a tertiary care facility further support a finding of good cause.”

   (Id.)

6. According to the latest filing, Mr. Samsel arrived at the Federal Detention

   Center in Philadelphia, Pennsylvania (“FDC”) on or about May 23, 2022.

   (ECF 171 at ¶ 2). On or about Wednesday June 1, 2022 undersigned counsel

   received an e-mail communication from the government that Mr. Samsel was

   no longer under quarantine. Therefore, Mr. Samsel was under quarantine for

   ten (10) days, despite Mr. Samsel having come from one BOP facility at

   Lewisburg, and transported presumably under conditions that would be

   deemed safe and not require “quarantine.” It should be noted that during this

   time, undersigned counsel had no access to speak with Mr. Samsel.

7. Further, in that same filing for an extension on May 27, 2022, the

   government made clear in a public record that they are monitoring Mr.

   Samsel’s calls, and they allege that “…within a day of his arrival at the FDC,



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   the defendant was recorded speaking on a monitored call where he chastised

   the recipient for not being aggressive enough. The defendant then discussed

   harming FBI agents…” and that “the defendant has been placed in the FDC’s

   special housing unit following the call, but cannot currently assess the extent

   to which increased security concerns with the defendant will impact plans for

   his evaluation.” (Id. at ¶ 4.)

8. We submit that Mr. Samsel’s constitutional rights are in jeopardy, not only

   because of lack of access to his own counsel, but also the lack of access to his

   well-being, in constant 24/7 lockdown since his move from Lewisburg, and

   Defendant Samsel has been placed in an untenable situation.

9. In the most recent request to delay the Court’s Order for an Independent

   Medical Evaluation, the government submits that,

   ‘On June 10, the prosecution contacted Deputy Regional Counsel for the
   Bureau of Prisons, who directed further inquiry to BOP Regional Counsel.
   Regional Counsel explained on June 10 that efforts were to schedule the
   defendant’s evaluation were continuing and further explained:
         a. “Such arrangements are made through an outside contractor that
            functions as an HMO for the BOP. To proceed with scheduling, the
            BOP must provide a referral.”
         b. “The defendant has refused to allow medical staff at the FDC to
            evaluate him. This refusal was ongoing as of June 10…”
         c. “The BOP cannot produce the necessary referral without conducting
            an examination of the defendant.”’
   (ECF 171 at ¶ 9).
10. However, having BOP perform yet another evaluation was not part of the

   government’s representations or the Court’s Order for an Independent

   Medical Evaluation at a tertiary research center. (ECF 164, and respectively,

   ECF 159).

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11. The government has repeatedly stated that “to accomplish the objectives of

   the order [that Mr. Samsel shall receive an Independent Medical

   Examination at a tertiary research center] the defendant was transferred to

   the Federal Detention Center in Philadelphia, Pennsylvania (FDC).” (ECF

   164 at ¶ 2).

12. The government could easily refer to the findings of Dr. Edinger from

   Lewisburg, who is also a BOP doctor. On May 5, 2022, Dr. Edinger testified

   that,

   Yes. He definitely has a severe problem. That's a given. And it's one that
   I would proceed cautiously with. And it's one where, in private practice,
   when I was in private practice, I would have utilized a high level tertiary
   center, like the University of Pennsylvania or Johns Hopkins or places
   like that, where they do a lot of research and bring in the very best
   individuals to deal with this type of problem.
   (Transcript of Status Conference Before the Honorable Jia M. Cobb, United
   States District Judge, May 5, 2022, at p. 40 L.22-25 -p. 41 L. 1-4).
13. The government never represented that a preliminary evaluation by, yet

   another BOP facility would be necessary. Clearly the government overlooks

   the findings from Dr. Edinger, but also the records from the UVA, which is a

   tertiary care center that Defendant was previously taken in August of 2021,

   under detention and while in federal custody.

14. UVA documented: 08/05/21, Diagnosis:

   1.   Acute embolism and thrombosis of subclavian vein, bilateral
   2.   Chronic embolism and thrombosis of axillary vein, bilateral
   3.   Chronic embolism and thrombosis of subclavian vein, bilateral
   4.   Phlebitis and thrombophlebitis of other sites
        Co-morbitities:



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   Enlarged lymph nodes left axilla, stomach and back of neck, and groin,
   August 2015; Elevated Serum creatinine August 2015; Multiple nasal bone
   fractures, right side orbital fractures; Orbital nerve damage, loss of vision
   right eye; Upper extremity varicosities.
15. At the same hearing, the Defendant himself asked the court,

    Will I be able to see Dr. Liebman, who was at Einstein who was familiar
   with the venogram and also the interventional radiologist, which was
   Dan DeCotiis at Einstein, along with he worked with those imagings. So
   he can get a better surgery with the glansectomy or removal. I mean,
   since he was already working on it and I visited him -- it's actually at
   Montgomery, which is about 17 miles outside the Philadelphia area.
   Since he's familiar, would I be able to possibly revisit him? And that's
   because I don't want to keep starting over and over and over, and it
   keeps getting pushed back please. That's all I ask.

   (Tr. p.66 L. 13-23).

16. And the Court responded:

   THE COURT: Sure. I think that is a fair and reasonable request, and
   I'm going to task your attorneys in working with Ms. Rochlin. I don't
   know what the limits of my authority are with respect to ordering
   specific -- what I can order but I'm giving you the homework. Obviously,
   it makes sense to me for Mr. Samsel to go to a center that he has been
   to before. Perhaps if he can see the specialists that he's already seen,
   that are more familiar with him, that would be great. But I don't know
   how this works. So, Mr. Samsel, you've made that request. I think it's a
   reasonable one. If we're able to do it and accommodate it, I'm tasking
   your lawyers with figuring that out, but I think it's reasonable for you
   to suggest that.

   (Tr. p.66 L. 24-25 - p.67 L.1-11).

17. As Mr. Samsel previously argued that,

   The government has also proposed that Mr. Samsel could remain at USP
   Lewisburg and could receive “a work up” at Lancaster General Health,
   which is part of the University of Pennsylvania Health System.
   However, the government cannot confirm whether the U.S. Marshal’s
   Service will in fact facilitate Mr. Samsel’s receipt of treatment, much
   less a “diagnostic work up” at Lancaster or whether Lancaster will in
   fact agree to treat Mr. Samsel while he is in the custody of the U.S.

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   Marshal’s Service. The government’s proposed order for the Court is
   thus based purely on conjecture and is merely speculative. Moreover,
   Lancaster is roughly 102 miles from USP Lewisburg, while the
   University of Pennsylvania Medical Center, a world-renowned academic
   medical center, is roughly only 168 miles away from USP Lewisburg. ...
   Rather, the government’s final proposal is that Mr. Samsel would be
   transferred to FDC Philadelphia, where he could receive treatment at
   the University of Pennsylvania Medical Center. Again, the
   government’s proposal relies on mere speculation and conjecture.

   (ECF 158, 05/13/22).

18. In the same filing we explained yet again that,

   Here, Mr. Samsel has time and again demonstrated a compelling reason by
   extensively documenting the medical treatment he seeks. Medical records post
   his detention repeatedly reflect that he suffered from an orbital fracture
   (Howard / DC Jail / Rappahannock / UVA). Medical records from before and
   after his detention reflect that he may suffer from gynecomastia (Einstein
   Health Network, Philadelphia / Central Virginia Regional Jail). Medical
   records from before and after his detention reflect some diagnosis of thoracic
   outlet syndrome with subclavian vein occlusion and medical records following
   his arrest relatedly reflect subclavian vein thrombosis (University of
   Pennsylvania / DC Jail / Rappahannock / Central Virginia Regional Jail /
   University of Virginia). In addition, medical records following his arrest reflect
   wrist scapholunate joint widening (Howard / DC Jail / Central Virginia
   Regional Jail); as well as loss of vision (Rappahannock / University of Virginia).
   For all of these conditions, Mr. Samsel requests the opportunity to be treated
   by specialists for the purpose of definitively determining what further
   treatment is necessary.

   (Id.)

19. To date, none of this treatment has occurred, and the Court’s 14 day Order is

   frustrating for Mr. Samsel, who has since been kept in lockdown with no

   genuine access to counsel. Mr. Samsel has been detained since his arrest on

   January 30, 2021 under extremely difficult conditions including several

   continuous weeks of solitary confinement and other incidents, as previously

   set forth in earlier status reports. (See ECF 49, 54, 55).

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20. By way of relevant background, in ECF 49, Undersigned Counsel documented

   that,

   On or about March 21, 2021, Mr. Samsel was viciously assaulted while
   in the custody of the District of Columbia Department of Corrections,
   and while detained in “administrative segregation”—the latest
   euphemism for solitary confinement. He was taken to Howard
   University Hospital the next day, on March 22, 2021, where he was
   admitted and treated for injuries including, but not limited to head
   strike and loss of consciousness, bilateral eye ecchymosis, acute kidney
   injury, injury of the wrists, fracture of the orbital floor (right side / closed
   fracture), bilateral facial bilateral nasal bone fracture, and thoracic
   outlet syndrome. Ultimately, as a result of the brutal assault, Mr.
   Samsel lost vision in his right eye, has suffered seizures, and has
   continuing pain and suffering in relation to the thoracic outlet syndrome
   as well as a cystic condition (that may have been aggravated in the
   assault), and a general lack of follow up care, and rehabilitative care.
   There has been no genuine mitigation and instead, Mr. Samsel’s
   condition appears to have grown in severity.

   (ECF 49, 09/11/21).


21. Undersigned Counsel further documented that,

   Of note, on September 15, 2021, the day after the Court’s last status
   conference, Mr. Samsel was an involved in an incident with the
   correctional officers at the Central Virginia Regional Jail (“CVRJ”).
   Late that evening, officers came to Mr. Samsel’s cell to move him back
   to solitary confinement. According to records provided by the U.S.
   Marshals Service (“USMS”), Mr. Samsel reported that he was “dropped
   while being removed” from his cell. The medical records further provide
   that after receiving medical attention in solitary confinement, Mr.
   Samsel had “mild redness on the left side of his face at the cheek bone
   area.” Further, in subsequent correspondence … shared with Defense
   Counsel, a CVRJ nurse advised that she visited Mr. Samsel the next
   day, that she gave him an ice pack and they discussed his vomiting a
   few times in the middle of the night, which is not documented in the
   records produced.

   (ECF 50, 09/20/21).




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22. To date, undersigned counsel has not been able to get the records from the

      Emergency Room visit that night.

23. The third assault happened or about October 12th, 2021. while Mr. Samsel was

      in federal custody and housed at a facility known as NNRJ, Northern Neck

      Regional Jail. Undersigned Counsel documented the following:

24. On [October 12, 2021], a 10-33 was called and Medical was asked to assess inmate. I,
      EMT F., assessed Inmate Samsel for any injury. A hands-on assessment was
      performed, only to find two areas of friction burn no larger than 2” in diameter on the
      top of inmate’s head. At the time of being assessed, inmate stated he was not in any
      pain. There was no bleeding or swelling. Inmate Samsel was alert and oriented to
      person, place, time, and event. Once inmate was taken back into the cell, inmate was
      assessed, finding no other injuries beside the friction burn listed above. Nothing
      further to report at this time. Then, approximately two and a half hours later, the
      NNRJ “Synopsis of Care” medical report provided by the U.S. Marshal’s Service
      provides: 1033 called in E-Pod around 1835. When going into the pod, Inmate Samsel
      was lying face down in the cell. I, Nurse A. ran to get the emergency bag. When coming
      back to the pod, Inmate Samsel was being rolled over by EMT F. . . . Inmate Samsel
      had a quarter size goose egg to the L eyebrow, some redness on his chest, and bruises
      on his hands from previous altercation. Inmate Samsel given icepack during this time.
      Dr. D. called and advised do not send to EMS . . . .Of note, Nurse A identified a “goose
      egg” that EMT F had failed to observe just two and a half hours earlier… Following
      the incident, defense counsel visited Mr. Samsel in person who appeared visibly
      shaken, badly bruised on his face and wrists, and clearly in distress. Counsel was not
      permitted a cell phone during their meeting with Mr. Samsel, however, below is a
      picture of Mr. Samsel during an unrecorded fifteen-minute video-conference
      permitted with counsel earlier October 13, 2021:




25.


      (ECF 55, 10/14/21).



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26. The government treats this pre-trial defendant who brought no weapons on

   January Sixth, who is shown in multiple public videos that Mr. Samsel then

   helped Officer Edwards stand up from where she had fallen, (see also ECF 1-

   1, 01/29/21, 21cr00188-mjf (“Samsel picked O-1 up off the ground”), never is

   that allegation the government has recognized, considered;        instead the

   government alleges not only that is he a danger to the community, but he is a

   danger within their facilities and have never let him outside, and limited his

   access to counsel, kept away from any law library to work on his case, and

   refused to comply with their own representations on proper medical treatment,

   so that he may otherwise focus on the defense of his case.

27. In conclusion, we respectfully request this Court to deny the further delay of

   access to treatment for Mr. Samsel, and to require that the government comply

   with the Court’s original order, and its own original representations, or,

   without further delay, return Mr. Samsel to Lewisburg, so that he can then be

   considered for treatment from there.




                            [signature next page]



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 Dated: June 14, 2022                  Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      On June 14, 2022 the undersigned hereby certifies that a true and correct

copy of the foregoing was electronically filed and served via the CM/ECF system,

which will automatically send electronic notification of such filing to all registered

parties.


                                               /s/ Juli Haller
                                        Juli Z. Haller, (DC 466921)




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